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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------X
  SKY MEDICAL SUPPLY, INC.,

                                 Plaintiff,
                                                               ORDER
          -against-                                            12-CV-6383 (JFB)(AKT)

 SCS SUPPORT CLAIMS SERVICES, INC., et al., :

                                 Defendants.

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 JOSEPH F. BIANCO, District Judge:

          For the reasons set forth on the record today. the motions to dismiss the tortious

 interference with contract claims are granted. The motion to dismiss Mr. Vayner's tortious

 interference with business relations claim is granted; however, the motions to dismiss the tortious

 interference with business relations claims brought by the remaining counterclaimants are

 denied. However, counterclaimants shall be permitted to replead their tortious interference with

 contract claims and Mr. Vayner shall also be permitted to replead his tortious interference with

 business relations claim within thirty (30) days oftbis Order.


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 Dated:        August 24, 2016
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                                                 J        F. BIANCO'-
                                                        ; STATES DISTRICT JUDGE

               Central Islip, New York
